      Case 1:22-cr-00015-APM      Document 425     Filed 12/13/22   Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   : CRIMINAL NO. 1:22-CR-15-apm
                                           :
                                           :
              v.                           :
                                           :
                                           :
JESSICA WATKINS,                           : (JUDGE MEHTA)
                                           :
               Defendant                   :

CONSOLIDATED POST-TRIAL MOTIONS OF DEFENDANT WATKINS
              PURSUANT TO F.R.Cr.P. 29 & 33

       COMES NOW, the Defendant, Jessica M. Watkins, by and through her
attorney, Jonathan W. Crisp, Esq., and hereby moves for judgment of acquittal
pursuant to F.R.Cr.P. 29(c) and for a new trial pursuant to F.R.Cr.P. 33, and in
support thereof sets forth the preliminary grounds as to these Motions as follows:

      On November 29, 2022, the Defendant was found guilty by a jury of

Conspiracy to Obstruct of an Official Proceeding (Count 2), Obstruction of an

Official Proceeding (Count 3), Conspiracy to Prevent Members of Congress from

Discharging Their Duties (Count 4) and Obstructing Officers During a Civil

Disorder (Count 6). ECF No. 411. The Defendant challenges her convictions as to

Counts 2, 3, 4, and 6 on the grounds set forth below and as will be set forth in a

substantive memorandum, which the Court has advised is due on or before

December 23, 2022.




                                          1
      Case 1:22-cr-00015-APM       Document 425      Filed 12/13/22    Page 2 of 4




      I.     The Verdict Was Unsupported by Legally Sufficient Evidence to
             Sustain the Convictions Beyond a Reasonable Doubt.

      The Defendant submits that at the close of the Government’s case there was

insufficient evidence to as to counts 2, 3, 4 and 6 to support the finding of guilt.

The verdict as to counts 2, 3, 4, and 6 was unsupported by adequate evidence to

sustain her convictions to the standard of beyond a reasonable doubt.

      II.    The Verdict Was Against the Weight of the Evidence.

      The Defendant submits that the verdict was against the weight of the

evidence adduced during the Government’s case in chief.

      III.   The Defendant Reasserts Grounds Previously Placed on the
             Record.

      The Defendant hereby reasserts each and every ground previously set forth

in all defense motions during trial and trial objections including, but not limited to,

Defendant’s oral and written motions for judgment of acquittal.

      IV.    Legal Standard

      Under Federal Rule of Criminal Procedure 33, the Court “may vacate any

judgment and grant a new trial if the interest of justice so requires.” Pursuant to

Rule 33(a): "[T]he evidence must preponderate heavily against the verdict, such

that it would be a miscarriage of justice to let the verdict stand . . . [.] This power

should be . . . invoked only in those exceptional cases in which the evidence

weighs heavily against the verdict." United States v. Howard, 245 F. Supp. 2d 24,

                                            2
      Case 1:22-cr-00015-APM       Document 425      Filed 12/13/22   Page 3 of 4




30 (D.D.C. 2003) (quoting United States v. Edmonds, 765 F. Supp. 1112, 1118

[D.D.C. 1991]). Moreover, a new trial should be allowed “only if the defendant has

shown that the error . . . affected the defendant's substantial rights." United States

v. Williams, 825 F. Supp. 2d 128, 132 (D.D.C. 2011).

      V.     Watkins Will Supplement This Motion on or Before December 23,
             2022.

      In addition to arguments made in various motions to dismiss, an oral motion

for judgment of acquittal, and a written motion for judgment of acquittal, Watkins,

as instructed by the Court, will file a supplemental brief in support of the instant

requests for a new trial and for the granting of judgment of acquittal.

      WHEREFORE, the Defendant respectfully requests that she be granted a
new trial or that her motion for judgment of acquittal be granted.

                                               Respectfully submitted,

Date: 13 December 2022                         /s/Jonathan W. Crisp
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                                           3
     Case 1:22-cr-00015-APM     Document 425     Filed 12/13/22   Page 4 of 4




                        CERTIFICATE OF SERVICE
       The undersigned hereby certifies that the foregoing document was served on
the individual listed below:


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                                        4
